
      1
     Abraham Hagos, Petitioner  v.  The People of the State of Colorado Respondent No. 25SC23Supreme Court of Colorado, En BancMay 12, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1723
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      DENIED PETITIONS FOR WRIT OF CERTIORARI
    
    2
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    